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 1   HEATHER E. WILLIAMS, #122664
     Federal Defender
 2   RACHELLE BARBOUR #
     Assistant Federal Defender
 3   CAROLYN WIGGIN #
     Assistant Federal Defender
 4   Designated Counsel for Service
     801 I Street, 3rd Floor
 5   Sacramento, CA 95814
     (916) 498-5700 Fax (916) 498-5710
 6   carolyn_wiggin@fd.org
 7
     Attorney for Defendant
 8   HELAMAN HANSEN
 9                             IN THE UNITED STATES DISTRICT COURT
10                           FOR THE EASTERN DISTRICT OF CALIFORNIA
11
12    UNITED STATES OF AMERICA,                  ) Case No. 2:16-cr-00024-MCE-DB
                                                 )
13                      Plaintiff,               )
                                                 ) REQUEST FOR RULE 43 WAIVER OF
14    vs.
                                                 ) APPEARANCE; ORDER
15    HELAMAN HANSEN,                            )
                                                 )
16                     Defendant,                )
                                                 )
17                                               )
18
             Pursuant to Rule 43 of the Federal Rules of Criminal Procedure, defendant, HELAMAN
19
     HANSEN, hereby waives the right to be present in person in open court or by video
20
     teleconference for all non-substantive proceedings in this case.
21
             Defendant hereby requests the Court to proceed during every absence which the Court
22
     may permit pursuant to this waiver, and agrees that his interests will be represented at all times
23
     by the presence of his attorney, the same as if the defendant were personally present. The
24
     defendant further acknowledges being informed of the rights under Title 18 U.S.C. §§ 3161-3174
25
     (Speedy Trial Act), and authorizes his attorney to set times and dates under that Act without the
26
     defendant’s personal presence.
27
     //
28
     United States v. Helaman Hansen                                Request for Rule 43 Waiver of Appearance
     (2:16-cr-00024-MCE)
                                                      1
     Case 2:16-cr-00024-MCE-DB Document 293 Filed 04/24/24 Page 2 of 2


 1
 2
     Dated: April 17, 2024                      s/ Helaman Hansen
 3                                      HELAMAN HANSEN
                                        Defendant
 4                                      (original signature on file with defense counsel)
 5
     Dated: April 17, 2024
 6                                      HEATHER E. WILLIAMS
                                        Federal Defender
 7
 8
                                        /s/ Carolyn M. Wiggin
 9                                      CAROLYN M. WIGGIN
                                        RACHELLE BARBOUR
10                                      Assistant Federal Defenders
                                        Attorney for Defendant
11
12
             IT IS SO ORDERED.
13
     Dated: April 23, 2024
14
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28
     United States v. Helaman Hansen                     Request for Rule 43 Waiver of Appearance
     (2:16-cr-00024-MCE)
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